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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )               CASE NO. 8:06CR376
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                     ORDER
                                             )
CHRISTINA ZAVODNY,                           )
                                             )
              Defendant.                     )

       This matter is before the Court on the Defendant’s unopposed motion to extend the

time for filing documents in support of her motion for downward departure (Filing No. 124).

       IT IS ORDERED:

       1.     The Defendant’s motion to extend the time for filing documents in support of

              her motion for downward departure (Filing No. 124) is granted; and

       2.     Documents supporting the Defendant’s motion for downward departure must

              be submitted on or before May 31, 2007.

       DATED this 25th day of May, 2007.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 United States District Judge
